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                             EXHIBIT 1
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   STATE     OF MISSOURI                )
                                        )
                                                                                                            1F?H*      MAR I 7 2015 ^
   CITY     OF    ST.     LOUIS

                                                                                                            BY
                                                                                                                 oSSs
                                            MISSOURI                 CIRCUIT       COURT                                             DEPUTY
                                  TWENTY- SECOND                      JUDICIAL          CIRCUIT
                                                 (City of             St.        Louis)


   TIFFANY        HOGANS,       et    al . ,                     )


                       Plaintiffs ,                              )
                                                                 )           Cause      No.     1422 -CC09012 - 01
   vs .                                                          )
                                                                 )           Division No.          17
   JOHNSON        Sc   JOHNSON;       JOHNSON              &     )
   JOHNSON        CONSUMER        COMPANIES,                     )
   INC;     and        IMERYS   TALC AMERICA,
   INC.,     f/k/a LUZENAC AMERICA,
   INC. ,                                                        )
                                                                 )
                       Defendants .                              )



                                                                 ORDER


            This        cause   is     now before                    the    Court       on:      (1)    the       Johnson      and


   Johnson         Defendants'              "Motion             to         Dismiss        Plaintiffs'                 Claims   for


   Lack      of         Personal            Jurisdiction                     and        Motion         to        Sever;"       (2)


   Defendant            Imery     Talc's              "Motion               to    Dismiss         Plaintiffs'             Claims


   against        Imerys        for    Lack           of   Personal              Jurisdiction;"              (3)       Defendant


   Imery     Talc's         "Motion              to    Transfer              Venue,          Motion     to        Dismiss      the


   Non-Missouri            Plaintiffs'                 Claims              Under    the        Doctrine          of    Forum   Non


   Conveniens             and     Motion              to       Sever;"           and     (4)    Johnson           and    Johnson


   Defendants             "Motion           to    Transfer                 Venue       and     Motion       to    Dismiss      the


   Non-Missouri            Plaintiffs                  Claims              Under    the        Doctrine          of    Forum   Non


   Conveniens . "           The       Court       now rules                 as    follows.




                                                                       1
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                                                         I .    Background


            This       matter           was       filed         by    sixty-five               (65)      Plaintiffs,            who


   have     joined          their        claims          pursuant           to       Missouri         Rule    52.05,       given


   that      their          claims        allegedly              arise         out        of     the     same       series       of


   transactions              or    occurrences                 and        involve         common       questions          of    law


   and     fact.            The    case        is      essentially               a    products          liability         case1,

   alleging          injuries             as       a     result           of     the        Plaintiffs'             (or    their


   Decedents')              use    of    certain           talcum          powder          products          (specifically,


   Johnson           and        Johnson's              Baby          Powder           and       "Shower         to    Shower"


   products) .            Plaintiffs               all         assert       that          they     or     their      deceased


   loved       one     developed              ovarian           cancer         as     a    result       of    perineal          use


   of    these       products.                Plaintiffs              alleged          that       these      products          were


   designed,           researched,                  developed,              mined,          manufactured,             tested,


   marketed,           advertised,                sold and/or distributed by Defendants.


            Two      of     the        Plaintiffs,             Ms.        Tiffany         Hogans       and    Ms.    Marianne


   Westerman,             are      residents              of     Missouri.                 Plaintiff          Hogans       is     a


   citizen        of      the     City       of     St.        Louis,       who      was       first     exposed      to       talc


   in    the    City        of    St.     Louis          and     first         purchased           and    applied         talcum


   powder       in     the        City       of    St.     Louis.              Plaintiff          Westerman          lives       in


   the     City        of    Ballwin;             and      she        too      first        purchased          and    applied


   talcum       powder            in    the       State         of    Missouri.                The      remaining         sixty-


   three       Plaintiffs              are     citizens          of       states          other    than Missouri,               who


   first       purchased           and       applied            the       talcum       powder        products        in    those


   states .


   1 Plaintiffs assert ten specific counts/theories of recovery, including (among others) strict liability for failure to warn,
   negligence, breach of express and implied warranty, civil conspiracy and negligent misrepresentation.

                                                                      2
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           At     present,           (and       considering          the     two      very      closely         related


   Johnson       &     Johnson        corporate            entities       as,    in     a     sense,      just       "one"


   defending         party) ,        there       are       basically       only     two       defendants            in    the


   case . 2       The     Johnson          and       Johnson       Defendants           are    alleged         to        have


   engaged        in     the     business             of    manufacturing,              marketing,             testing


   promoting,            selling            and/or          distributing              the       talc          products.


   Defendant           Imerys        Talc       America,          Inc.,     is     alleged          to    have       mined


   and     distributed               the     raw       talcum       powder,           introducing              it        into


   interstate           commerce           with       knowledge           and    intent            of    its    use        in


   manufacturing               the     talc          products       to     be    sold         in    the       State        of


   Missouri .


           As    alluded        to    in    the       opening       paragraph         herein,           the    Court       is


   now    presented            with       several       dismissal          claims        (or    closely         related


   issues) ,         urged      by    both       Johnson       &    Johnson        as    well       as    Imerys,          in


   four       separately          denominated               motions,        which       do     overlap         to        some


   extent       but      which        also       are       each    couched         in       slightly          different


   terms .        First       and     foremost,            Defendants       urge        the    Court      to    dismiss


   this       case      for     lack       of    personal          jurisdiction.                   In    the    altern-


   ative ,        as      to      some          of     the     individual               Plaintiffs'             claims,


   Defendants           move         to     transfer          venue,        and/or           for        severance          of


   allegedly           improperly           joined         claims,       and/or       for      dismissal         due       to


   forum non           conveniens.



   2 One of the originally named Defendants, a trade association named the Personal Care Products Council, was
   recently voluntarily dismissed from the case by stipulation of the parties.




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                                           II.       Personal             Jurisdiction


                                  A.     The    Johnson          &   Johnson           Defendants


             Johnson          &     Johnson          argues,           based          on       the       relatively             recent


   U.S.      Supreme          Court       holding           in       Daimler          AG       v.       Bauman,         134    S.     Ct .


   746,      751-754           (2014),          that      there           simply          is       no    basis         to   exercise


   "general"            jurisdiction                 over        the       Johnson             &       Johnson         Defendants.


   Johnson         &    Johnson           also       contends,                 however,             that         aside      from      the


   two    Missouri            Plaintiffs             (Ms.       Hogans          and       Ms.       Westerman) ,            there       is


   no    basis         to    find        "specific"            personal              jurisdiction                 over      the      non-


   Missouri            Plaintiffs,              given          that        all       of    them          admittedly             reside


   outside         of       Missouri           and    purchased/used                      the       products           in   question


   and       developed                 their         cancers              outside           of          Missouri.                   Thus ,


   Defendants               suggest,           it     would          violate           Johnson               &    Johnson's           due


   process         rights          for     this       Court          to    exercise                personal            jurisdiction


   as     to      the       claims        of        the     non-Missouri                   Plaintiffs,                  since        "any


   alleged         in- state            activities             of    the        Johnson            &    Johnson Defendants,


   in     relation            to       those     Plaintiffs'                   claims,             could         not    have        given


   rise      to    the      liabilities              sued on."


             "The       sufficiency                 of    the        evidence              to          make      a     prima        facie


   showing         that        the       trial       court          may        exercise            personal            jurisdiction


   is    a     question            of    law."           Bryant           v.    Smith          Interior              Design     Group,


   Inc. ,         310       S . W . 3d    227            231        (Mo.        banc       2010) .                When        personal


   jurisdiction               is       contested,           it       is    the       plaintiff's                 burden        to    show


   "that           defendant ' s           contacts                  with            the               forum           state         were




   sufficient."                    Id.     (citing         Angoff              v.    Marion             A.    Allen,        Inc.,       39


                                                                      4
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   S . W . 3d   483,       486      (Mo.    banc     2001)).            "A     reviewing            court        evaluates


  personal           jurisdiction            by     considering               the        allegations             contained


   in    the    pleadings            to     determine           whether,            if    taken        as      true,     they


   establish          facts         adequate        to     invoke       Missouri's               long-arm           statute


   and      support           a      finding         of      minimum            contacts              with        Missouri


   sufficient          to     satisfy        due    process."                Id .        " [T] he     allegations           of


   the     petition           are      given        an     intendment               most      favorable             to    the


   existence           of     the      jurisdictional                  fact."             Moore          v.      Christian


   Fidelity          Life     Ins.    Co.,        687    S.W.2d        210,     211       (Mo.      App .       1984);    See


   also    Noble       v.      Shawnee       Gun        Shop,        Inc.,     316       S.W.3d          364,     369    (Mo.


  App.     W.D.       2010) .


           "Missouri              courts      employ         a       two-step            analysis           to     evaluate


   personal          jurisdiction."                       Bryant ,       310        S.W.3d          at      231     (citing


   Conway       v.    Royalite         Plastics            Ltd. ,      12     S . W . 3d    314,         318      (Mo.   banc


   2000) ) .           "First,         the        court     inquires            whether             the       defendant's


   conduct        satisfies          Missouri's            long-arm          statute          section            506.500."


   Id.      "If      so,      the    court        next    evaluates            whether        the        defendant        has


   sufficient           minimum            contacts        with       Missouri            such        that       asserting


   personal           jurisdiction                over     the        defendant             comports             with     due


   process."           Id .


           Section          506.500.1         RSMo,       Missouri's            long-arm          statute,          reads


   as    follows:


                      Any person or               firm,    whether or not                  a citizen
                      or    resident         of    this    state,       or      any
                      corporation,            who       in person or            through          an
                      agent       does     any of        the acts       enumerated in
                      this       section,         thereby        submits        such person,


                                                                 5
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                 firm,         or    corporation,          and,          if    an    individual,
                 his     personal           representative,                   to    the
                 jurisdiction of                  the    courts          of    this       state    as
                 to    any      cause       of    action       arising             from    the
                 doing         of    any of       such acts:


                       (1)      The       transaction of                any business
                 within this               state;


                       (2)      The making          of    any       contract          within
                 this       state;


                       (3)      The       commission of             a    tortious          act
                 within this               state;


                         (4)    The       ownership,       use,          or possession             of
                 any       real      estate       situated          in       this    state;


                         (5)    The       contracting          to       insure       any person
                 property            or    risk    located within                   this    state
                 at    the      time       of    contracting;


                         (6)    Engaging          in an    act          of    sexual
                 intercourse               within       this    state          with       the
                 mother         of    a    child on or          near          the    probable
                 period of            conception of             that          child.


   (Emphasis     added) .


          "Section         506.500         is    construed          to        extend       the    jurisdiction of


   the    courts      of       this       state     over       nonresident                 defendants          to     that


   extent   permissible               under       the     Due       Process           clause."          Bryant ,       310



   S.W.3d at     232       (citing         State    ex     rel.         Deere       v.     Pinnell,       454    S.W.2d


   889,   892    (Mo.       banc      1970)).           "Extraterritorial                   acts        that    produce


   consequences        in      the    state         such    as          fraud,       are    subsumed under             the


   tortious      act       section          of     the     long-arm                statute."            Bryant ,       310



   S.W.3d   at     232      (citing         Longshore          v.       Norville,          93     S.W.3d       746,    752


   (Mo.   App.   2002) ) .




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           "The        Fourteenth             Amendment ' s           Due      Process           Clause             bars


  Missouri           courts        from      exercising            personal         jurisdiction            over       a


  defendant          where       to     do    so       offends       traditional           notions         of       fair


  play        and     substantial            justice. / 11           Bryant ,        310       S.W.3d       at       232


   (citing       Int ' 1    Shoe       Co.   v.     Washington          326   U.S.       310,     316      (1946) ) .


   "Accordingly,            absent       one      of    the    traditional          territorial            bases      of


  personal          jurisdiction               presence,           domicile        or    consent           a    court


  may      assert          personal          jurisdiction             over     a     defendant             only       if


   certain       minimum         contacts          between         Missouri    and       the    defendant            are


   established."             Id.


           "When      evaluating             minimum         contacts        the    focus       is    on    whether


   there      be     some     act       by    which        the     defendant        purposefully               avails


   itself       of     the       privilege           of      conducting       activities             within          the

   forum      State,        thus       invoking         the    benefits       and       protections            of    its

   laws . "      Bryant ,        310    S.W.3d at          232      (citing Hanson v.             Denckla,           357


   U.S.    235       253     (1957) .        "This        inquiry     cannot        be   simply mechanical

   or   quantitative."                 Bryant ,        310    S.W.3d    at    232        (citing      Int ' 1       Shoe


   Co. ,   326      U.S.    at   316) .


           "A       court     has       general           jurisdiction          over       an     out-of-state


   defendant          if     the       defendant's            connections           with       the     state         are

   systematic ,             continuous              and       substantial           enough           to     furnish


   personal          jurisdiction            over       the    defendant       based       on    any       cause      of

   action           even     one      that     is      unrelated      to    the     defendant's            contacts


   with    the      forum."         Bryant ,        310      S.W.3d at       232    (citing Helicopteros

   Nacionales          de     Colombia,             S.A.      v.    Hall,     466       U.S.     408,      414       n.9


                                                              7
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   (1984)).             "[A]    court       may    assert           jurisdiction             over         a    foreign             cor


  poration         to     hear        any    and    all        claims             against        [it]     only           when       the


   corporation's                affiliations               with          the       State        in      which            suit        is


  brought          are         so     constant           and            pervasive           as       to        render              [it]


  essentially             'at       home'    in    the     forum          State."          Daimler            AG    v.       Bauman,



   134     S.    Ct.    746,     751       (2014) .


            "By    contrast,           a    court       acquires              'specific          jurisdiction'                     over


  an       out-of-state              defendant          when            the        court     'exercises                  personal


   jurisdiction                over    a     defendant               in       a     suit     arising               out        of     or


   related        to     the     defendant's             contacts              with       the     forum.'"                   Bryant ,


   310     S . W . 3d    at     232     (citing         Helicopteros                 Nacionales               de        Colombia,


   S .A.    v.     Hall,        466    U.S.       408,         414      n.8        (1984)).          "In           some       cases,


   single        or     isolated        acts       by      a    defendant             in    a     state,           because           of


   their         nature         and         quality            and        the        circumstances                      of     their


   commission,             provide           sufficient                  minimum           contacts                to        support


   jurisdiction                for    liability            arising            from        those      acts."                  Id.     at


   233 .


            Moreover,           as    Plaintiffs           have          correctly pointed out                           in    their


   memorandum            in    opposition          to      Johnson             &    Johnson's           personal              juris-


   diction         dismissal            motion             the          key        test    that         both            the        U.S.


   Supreme        Court         and    our     Missouri              courts         have        recognized                (whether


   the      suit        " 'aris [es]         out      of       or       relate [s]          to          the        defendant's


   contacts            with     the     forum"3)           is       a     disjunctive             (i.e.,            either/or)


   test .        Thus     in a        fundamental              sense,         the    crucial         question becomes



   3 Daimler AG v. Bauman. 134 S. Ct. at 754-755; Bryant. 310 S.W.3d at 232-233.

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what      nexus        is     sufficient                to     satisfy               the     "arises          out     of     or


relates      to"      standard?


        In   that        regard,           this     Court      finds         it       important          that    a    number


of    courts          including             the     U.S.       Court        of        Appeals          for     the    Eighth


Circuit          have       held       that         this       test        is        satisfied           even        in    some


matters         where         the       plaintiff's                injuries                are     "related           to"      a


defendant's              activities               in     the       forum             state        even        though        the


plaintiffs'            claims          in    a     strict          proximate               cause        sense        did    not


"arise       out    of"      the      forum        state       activities.                  See        Myers    v.    Casino

                                                                                     th
Queen,       Inc.,          689       F.3d       904,        912-913            (8         Cir.    2012)         (holding,


where     plaintiff           filed          suit       in   Missouri                against       the       non-resident


Casino        Queen          for       allegedly              negligent                   conduct        occurring           in


Illinois,          that      defendant            advertised            in      the        forum       state,    and       that


although        plaintiff's                injuries           "did      not          arise       out    of     the    Casino


Queen' s        advertising                 activities             in       a        strict        proximate              cause


sense ,         his         injuries             are         nonetheless                   'related            to'        those


activities          because           he     was       subject        to        such       advertising.")                  Id. ,


at    913.


        That        flexible,               practical              approach                to     interpreting              and


applying           the      test,          this        Court        believes,                is    consistent              with


Missouri         law.        See,      e.g.,        Chromalloy Am.                    Corp.       v.    Elyria       Foundry


Co.       955    S . W . 2d       1    4     (Mo.       banc       1997)         (holding          minimum           contacts


test    is      "not     susceptible              to mechanical                 application").


        In      this        case,       the       Court        believes               the       test     is     more       than


adequately            met     as       to     the       Johnson         &       Johnson           Defendants.               The



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alleged        conduct          of        the       Johnson        &    Johnson       Defendants             satisfies


Missouri's              long-arm          statute          because           those    Defendants             allegedly-


marketed           and    sold    their             talcum    products          at   issue       in    this       case    in


Missouri           for    more        than           several       decades;           and       Plaintiffs'             tort


claims       are        based        in    part       on     Defendants'             distribution             into       the


stream        of         commerce          and         sale        of     those       products              (and        some


Plaintiffs'              exposure          thereto)4          that       occurred           in   Missouri.               The


alleged        conduct          is    sufficient             to        satisfy       both      the    terms       of     the


long-arm           statute       itself         and     the    required          minimum         contacts          of    the


Johnson        &    Johnson          Defendants            with        the    State       of    Missouri.              Based


on    these        alleged       business             activities          and    tortious            acts    committed


by    Defendants           and       their          agents     which          occurred          in    Missouri,          the


Court        thus         concludes                 that     it         possesses           specific             personal


jurisdiction              over       the        Johnson        &       Johnson       Defendants             as    to     the


non-Missouri             Plaintiffs             as    well     because          Defendants            sold       the    same


products           in    Missouri          that        were       purchased          and       used    by     the       non-


Missouri           Plaintiffs             in    their       respective           states,         and    accordingly


Defendants'              contacts          with        this        forum      sufficiently              "relate          to"


the    litigation and Plaintiffs'                            claimed injuries.


         Defendants           have        likewise           cited no         controlling or persuasive

authority           in    support              of    their     contention             that       each       individual

properly            joined       Plaintiff                 must        make     specific             jurisdictional

allegations.              The    Court          acknowledges              that       in    an    extremely             short



4 The Court notes in passing that Johnson & Johnson expressly does not challenge that the Court may properly
exercise specific jurisdiction over the two Missouri plaintiffs. (See Defendants' Memorandum in Support of their
motion to dismiss for lack of personal jurisdiction, at page 8 thereof, footnote 7.)


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section          of    their       Reply              memorandum            on    the     personal         jurisdiction


issue       the       Johnson          &     Johnson            Defendants          do       cite    a    Fifth        Circuit


case       as    well       as    two      unpublished                federal       district         court        opinions,


in    support          of        their          contention             that       (as    they       put    it)     personal


jurisdiction                must        be        "a       claim-specific               and     Plaintiff -specif ic


inquiry"          for       each        of        the       individual            Plaintiffs.5              This        Court,


however           finds the published 5th Circuit Sief erth case to be both

distinguishable                   from          the        instant         case    as        well    as    not     actually


supportive             of    the        proposition               that        Defendants            cite     it    for;     it


further          finds       the       two       unpublished               federal       district         opinions        both


to    be    either          distinguishable                     and/or       unpersuasive                (aside    from    the


fact       that       they of       course             lack any precedential                    value.)


           The    Court          thus       continues             to       believe,          just    as    it     found    and


held       in    its    recent             Order           in   the    somewhat          similar         case     of    Anders


v.    Medtronic ,            that          this        "each-individual-plaintiff"                           argument       is


incorrect              because             in     a    case      like      this     one       the    Court's       personal


jurisdiction                over       a    defendant             "is      based        on    the   minimum        contacts


the     defendant                has       with         the      state           and    not     the       contacts        that


plaintiffs have with the state."6

           Finally,          Defendants'                   very heavy reliance                  on Daimler,             supra ,


is    misplaced.                 This        is       so    because,         although          it   is     true    that    the



5 See "Defendant Johnson & Johnson['s] Reply in Support of Their Motion to Dismiss Plaintiffs' Claims for Lack of
Personal Jurisdiction and Motion to Sever," at the bottom half of page 7 thereto, citing inter alia to Seiferth v.
Helicopteros Atuneros. Inc.. 472 F.3d 266, 274 (5th Cir. 2006).
6 "Order" entered in Anders v. Medtronic. Inc.. No. 1322-CC 10209-02, (Hon. John F. Garvey), dated January 13,
2015. The Court acknowledges that the Johnson & Johnson Defendants, in their reply memorandum herein, have
argued that the personal jurisdiction issue in the Anders order was wrongly decided, and thus have requested that
"the Court reconsider its specific jurisdiction analysis in Anders." (Reply Memo at 8.) This Court respectfully
disagrees with Defendants, as the Court continues to believe that its analysis in Anders was and is correct.

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U.S.    Supreme       Court's            holding         in     Daimler         clearly      diminished                    the


scope    and      applicability             of    the     "general          jurisdiction"                  species          of


personal       jurisdiction,               and      while       it    also       is    true- - (contrary                    to


what    the    Plaintiffs           herein        argue) --that             under      Daimler             this       Court


does    not    have       general          personal           jurisdiction            over       the       Johnson           &


Johnson       Defendants,           for     the     reasons          already       explained               above          this


Court       does    have       specific          personal            jurisdiction            in       this           matter


over    the    Johnson      &   Johnson          Defendants.


                                    B.     Defendant           Imerys       Talc


        The    "minimum         contacts"             test      and   other        key      legal          principles


that    govern       the    question             of      whether       "non- traditional"                       personal


jurisdiction          can      or    cannot         properly          be    exercised            as    to       a     given


defendant          consistent            with     due      process          are       the    same          for        every


defendant;         but    the    facts determining                    the answer            to    this          question


can    of    course      vary       from    one       defendant            to   another.           Thus,             in    its


own     separate         motion          and      memorandum           seeking           dismissal               of        the


claims      against       it    in       this     cause       due     to    alleged         lack       of       personal


jurisdiction,             Defendant             Imerys          correctly          notes         that           Missouri


courts      require       that       some basis           for personal                jurisdiction must be

shown       for    each     separate             defendant           who    challenges            it,           in    order


for    that       defendant         to     stay     in    the    case.          Longshore             v.    Norville,


93    S . W . 3d 746,     751       (Mo.    App .     E.D.      2002).


        Here        the     facts          concerning            Defendant            Imerys          are       in        some


respects          different         than        those         regarding         the     Johnson             &    Johnson


Defendants .



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         Imerys         Talc       is     a    Delaware             corporation                with        its   principal


place       of    business          in       California.                 It    mined       and       distributed          the


raw    talcum          powder,          introduced             it       into     interstate                commerce,      and


at    relevant          times       was       Johnson          &    Johnson's             exclusive          supplier      of


talc     for      its       products.              Nevertheless                and    without          belaboring         the


point ,      an       argument       could          be   made            one     which         Imerys        indeed      does


attempt          to    assert       and       emphasize             herein           that        its       contacts      with


Missouri          and       its    relevant             business          activities             therein         are     more


attenuated             than       what        is    required            to     meet       the     minimum          contacts


test .       That       question          is       at   the    very       least       debatable,             however,      as


one    could          also       argue    the       opposite            based        on    the       existing       record;


and    it    is       by    no    means       clear       to       this       Court       that       Imerys'       in-state


contacts          are      constitutionally                   insufficient                to    establish          specific


personal jurisdiction over it in this matter.7

         For      the      following           reasons,            however,          the       Court       finds    it   does


not    need       to       engage       in     the      minimum          contacts/due                process       personal


jurisdiction               analysis           with       respect          to    Defendant             Imerys,       because


the      record            here    amply           supports             that     there          is     a     traditional ,


wholly independent basis                           for jurisdiction over Imerys.



7 The record shows, for example, that Imerys has a distributor in the City of St. Louis—(Archway Sales, Inc.)—to
which it supplies many different grades of its talc. (See Imerys' Responses to Jurisdictional Discovery, Request for
Admission No. 1, attached as Exhibit 3 to Plaintiffs' memorandum in opposition to Imerys' motion.) The record
thus supports that Imerys distributed the same defective raw talc at issue in this lawsuit to Missouri distributors,
albeit for use in non-Johnson & Johnson products. Imerys, however, appears to take the position that these admitted
Missouri contacts involving its fungible product do not in any meaningful sense "relate to" this lawsuit for purposes
of personal jurisdiction analysis, and hence are legally irrelevant, because these admitted in-state activities of Imerys
are separate and apart from any commercial relationship that Imerys has with Johnson & Johnson. See, for example,
Imerys' memorandum in support, at 3, stating in part: "The talc that is used in the Products at issue in this case is
not mined in Missouri," and further that "Imerys neither sells talc in Missouri for use in the Products. nor ships or
distributes its talc in Missouri for use in the Products ." (emphasis supplied). Rather, Imerys states, all of its
"commercial transactions with Johnson & Johnson . . . took place outside the State of Missouri." Id.


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        The    record          shows        that    Imerys          Talc        was     served          in     Missouri


through       its    registered         agent.


        The    Eighth           Circuit          holds     that         designating                an     agent           for


service       of    process       in    a    state       constitutes             an    act       of    consent- -one


which     confers         jurisdiction             independent             of    the       Due    Process           Clause


and    thereby           authorizes          jurisdiction              for       all       causes        of     action.

                                                                                                                               th
See    Knowlton          v.    Allied       Van    Lines,        Inc.        900      F . 2d      1196,       1197        (8


Cir.    1990) .


        In    Knowlton,          the    plaintiff          filed        suit          in    South       Dakota,           for


an    injury        that      arose     in       Iowa,    against           a    defendant              incorporated


in     Delaware           and     headquartered                 in      Illinois.                     However,            the



defendant          had     appointed         a     duly    registered             agent          in    South        Dakota


for    service       of       process.           Knowlton,           900     F.2d       at       1197.         On        those



facts ,      the     Eighth       Circuit          Court       of    Appeals           held       that       the         trial


court        could       exercise           jurisdiction               because             the     defendant               had


consented           to    jurisdiction             by     appointing              the       registered              agent.

                                                                                                                    th
              also        Sondergard          v.    Miles,          Inc.,       985        F.2d       1389     (8         Cir.
Id;    see

1993)     (holding based in part on same reasoning) .


        Close        analysis          shows       the    Knowlton              court       based        its    holding


and    its    reasoning on             three       key premises.                 First,           the    court           found


that      designating             a     registered              agent        for       service           of     process


generally           constitutes         consent           to    jurisdiction                in    that        state        for


all    causes        of       action.        Knowlton,           900    F.2d          at    1199        ("One       of     the


most      solidly             established          ways        of    giving            such       consent            is        to


                          agent       for    service       of       process.")               Indeed,          the        court
designate           an


                                                           14
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stated       " [t] he        whole       purpose             of       requiring          designation            of        an    agent


for     service          is        to        make        a        nonresident             suable          in        the         local


courts."          Id.         Second,          the       Knowlton                court    reasoned,            such        consent


confers        jurisdiction                   independent                   of,     and        separate              from,           due


process       analysis;                see   id. ,       at       1198-1199.              Third,      the       court           based


its     reasoning            that       designation                   of    a    registered         agent           amounts            to


consent       to     all          claims,           not          merely          those     that      "arise           from"            or


"relate        to"       a        defendant's                in-state             activity,          on        the        lack        of


"words       of    limitation"                 in    Minnesota's                  registration                statute.                See


Knowlton,         900        F.2d      at    1199-2000.


        In    that       regard          this       Court             notes       that    the    current            applicable


Missouri          statute,             section       351.582               RSMo,     similar         to       the    Minnesota


statute       discussed                in    Knowlton,                is    broadly        worded,            and     provides:


" [a]    foreign             corporation             with             a    valid    certificate                of     authority


has     the same         .    .    .    rights       .       .    .       and    ...      is    subject             to the same


duties,        restrictions,                   penalties                   and    liabilities             .     .     .        [of]     a


domestic          corporation."                 It       contains               no words       of   limitation.


         These key premises,                         underlying the 8th Circuit's holding in

Knowlton,          are       supported by very                            longstanding precedents                         from        the


U.S.     Supreme             Court .           See           e.g.,          Pennsylvania            Fire        Ins.           Co.     v.


Gold Issue Mining                      & Milling             Co.,          243    U.S.    93    (1917) .             There,           the


plaintiff          had        filed          suit        in       Missouri           against         an        Arizona            cor-


poration,          over           events       occurring                   in    Colorado;          and       defendant               had


appointed an             agent           for    service               of    process        in Missouri.                    Id. ,       at


94 .     The court held that Missouri                                       could properly exercise juris-


                                                                      15
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diction        over       the       defendant .             Id.        at    95.         It    reasoned           that       the


defendant           had       committed          a    "voluntary              act"       and        power        to    accept


service        of    process             "was    actually             conferred          by    a    document."               Id.


at    96 .     See       also       Railroad          Co.       v.    Harris,           79    U.S.       65,     81    (1871)


("A     foreign           corporation                cannot           migrate           but    may        exercise           its


authority           in    a    foreign          territory             upon    such       conditions              as    may    be


prescribed           by       the    law    of       the    place.            One       of    the        conditions          may


be    that     it   consent          to be       sued there.")


         It    is    true,          as   Defendant          Imerys          fairly           and    correctly          points


out ,    that       our       Missouri           Supreme             Court    thus           far    has    declined           to


expressly           rule       on    the        issue      of     whether          designation             of     an    agent


for     service          of    process,           without             more,        is    sufficient              to    confer


personal        jurisdiction.                    This      Court       believes,              however,         that     close


and     careful          scrutiny           of    recent             rulings        by       our    state's           highest


court        clearly          suggests          that       it     leans       strongly             towards        the    view


that such a traditional basis                               for jurisdiction does                         suffice.


         In    State          ex     rel.       K-Mart       v.       Holliger               986    S . W . 2d    165     (Mo.


banc     1999) ,         the    plaintiff            filed        suit       in Missouri,                for a Colorado


slip-and-fall                 accident           against          a   Michigan           corporation              (K-Mart) .


K-mart        was    registered             to       do    business          in    Missouri              and   operated        a


number         of    retail              stores       in    Missouri.                   Id.        at     166.         K-Mart



contended           that,          despite        its       in- state         service,              jurisdiction             may


only be        obtained by compliance                           with Missouri's                    long-arm statute.


Id.          Much    like       the       court       in    Knowlton,             supra,           our    Supreme        Court


recognized           that           traditionally,                service          upon       a     registered           agent


                                                                16
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was    a        sufficient                basis        for       exercising          personal           jurisdiction.


Id.    at   167.               It    then      observed          that     the   legislative             intent        of   the


long- arm            statute             was     to    "extend"           jurisdiction            over     defendants


who     could             not       be     served       within           the    state.             Id.     at        167-168


(emphasis             in       original) ,            noting       that     the       long-arm        statute           never


abolished             traditional                in-state         service.           The    court       declared,           "we


find       no    Missouri                 case    challenging              jurisdiction            over        a     foreign


corporation               whose           registered         agent       was    served       in    Missouri."               Id.


at     168 .              It        rejected          K-mart's          contention           that        the       long-arm


statute          constitutes                   the      exclusive          means        of       obtaining              juris-


diction.          Id.           The       court       further       recognized         that       the    registration


statute,             section             351.582(2),             does     not    by    its       terms     limit           what


claims          it    subjects              nonresident             corporations            to    for     purposes           of


jurisdiction                        but     instead          expressly            treats          such         defendants


served      in- state                like      domestic          corporations.             Id.


        Ultimately,                      however,        the        court       in     Holliger           declined           to


expressly             rule          on    the     issue       of    whether       designation             of       an    agent


for     service                of    process          was     alone        sufficient            to   confer            juris


diction,             choosing              instead          to     decide       the     case       on     due        process


grounds .                 Id.       at     168.         Nevertheless,                this    Court        agrees           with


Plaintiffs                herein          that    Holliger          remains       considerably             instructive


and    pertinent                to       the    issue       at     hand    because,         much      like         Know It on,


supra,           it       did        recognize           that           traditionally             in- state          service


 (such      as       was        the       case    here       with       Imerys       Talc)       would     suffice          for


purposes             of    jurisdiction;                and      too     that    this       traditional             means    of


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jurisdiction             presumably             remains          valid     and        independent           of     the


long-arm          statute.


           Even    more     recently,            the     Missouri         Supreme          Court     has     opined


that       due    process       minimum          contacts         analysis         is      required        only      if


one    of    the       "traditional"            bases      of    personal        j urisdiction- - such               as


actual       presence,           or    consent- -is              "absent."            Bryant ,       supra,        310


S . W . 3d   at     232.        It    logically            follows       that      when       a    foreign       cor-


poration          does     consent        to     jurisdiction,           through          means     of    having       a


registered          agent       who    is      served      in- state,        then       the      courts    of    this


state may exercise                 jurisdiction over                   such a defendant.


           The    Court     thus      finds       that     it     may    properly          exercise       personal


jurisdiction herein over Defendant                                Imerys      Talc.


             III.      Alleged Improper Joinder/Motions                             for     Severance


           Defendant        Imerys        as     well    as      the    Johnson       &    Johnson       corporate


Defendants          both      argue,        in    their       own      respective          motions,       that     all


65     Plaintiffs          have       been       improperly             joined      under         Missouri       Rule


52.05,       and       thus     argue          (in   the      alternative          to      dismissal         due     to


alleged           lack     of     personal           jurisdiction)               that       all      Plaintiffs'


claims       should        be    severed         into      separate        actions.               Substantively,


Imerys '         and    Johnson       &     Johnson's           arguments        on       this    defense        claim


are    largely         indistinguishable.



8 This Court would note too, as Plaintiffs have pointed out in their briefing, that this view is also strongly supported
by RESTATEMENT (SECOND) OF CONFLICT OF LAWS, section 44 and comment a thereto (stating that by
authorizing an agent to accept service of process, a corporation consents to the exercise ofjurisdiction as to "all
causes of action," and that such consent is effective even if no other basis exists for exercise ofjurisdiction over the
person.)




                                                            18
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        Defendants             contend       that       joining           the        "separate          and       distinct"


personal        injury           and/or         wrongful            death       claims           of     65       individual


plaintiffs            in      this        type    of     case,           who     hail           from        29    different


states,        is     simply        "beyond        the     pale."              Citing           State       ex    rel .    Gulf


Oil     Corp.       v.     Weinstein             379    S . W . 2d       172,        173-175          (Mo.       App .    1964)


for     purported             support,       they       say     that       Missouri              courts          have     "long


rejected"           attempts          by     multiple           plaintiffs                 to    join        claims        that


"do     not    arise          out   of     the    same        transaction              or       occurrence."               They


contend        that      this       is    particularly              true        in    what       they       characterize


as    "complex,            individualized              medical            claims,          like       those       presented


in    this     case."            They     then     cite       a plethora              of    unpublished federal


district        court          opinions          (and     a     tiny       handful              of    published           ones)


that     they       believe,          applying           an    analogous              federal           Rule       of     Civil


Procedure,            support        their       position           in     this       regard.           And        lastly    as



to      this        issue           Defendants           also            cite        for        support           (and     rely


heavily         on)        two      Orders       of     trial            judges        from          this        Circuit     in


relatively recent                   years,        regarding              two    somewhat             similar        cases- -


Brown     v.    Walgreens             Co.,       No.    1022-CC00765                   slip          opn.    at     4     (dated


November         15        2010);         and    Ballard            v.    Wyeth,           No.       042-07388A,           slip


opn.     also at          4    (dated August             24,    2005) .


         The    Court          finds      these arguments                 to be unconvincing.


         The        permissive             joinder         of        parties           is        governed            by    Rule


52 . 05 (a) .            State       ex    rel.        Nixon        v.     Dally,          248       S.W.3d         615,     616


 (Mo.    banc       2008) .         Rule     52.05(a)          states           as    follows:




                                                               19
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                  Permissive              Joinder.                    All       persons           may       join        in
                  one      action             as    plaintiffs                   if       they        assert          any
                  right          to      relief              jointly,                severally,                 or      in
                  the      alternative                   in       respect            of     or    arising             out
                  of       the           same            transaction,                       occurrence                  or
                  series         of      transactions                       or    occurrences                 and       if
                  any      question              of      law       or       fact       common          to       all     of
                  them       will         arise              in       the       action.           All       persons
                  may      be    joined             in       one       action          as      defendants                if
                  there          is         asserted                   against              them           jointly,
                  severally,                or      in       the        alternative,                   any        right
                  to       relief         in        respect                of     or      arising             out       of
                  the       same         transaction,                      occurrences                 or       series
                  of       transactions                      or       occurrences                 and         if      any
                  question               of        law       or        fact          common           to      all       of

                  them       will         arise              in       the       action.           A    plaintiff
                  or       defendant                    need           not        be        interested                   in
                  obtaining                   or        defending                    against               all          the
                  relief          demanded.                   Judgment               may       be      given            for
                  one       or    more             of    the          plaintiffs                 according               to
                  their           respective                      rights               to        relief,                and
                  against             one      or       more           defendants                according               to
                  their         respective                   liabilities.


        The    policy           of       the       law       is       to    try       all      issues           arising        from       the


same    occurrence               or      series              of       occurrences                together.                 Bhagvandoss


v.   Beiersdorf,             Inc.,            723       S.W.2d             392,        395        (Mo.      banc         1987);      Bryan


v.   Pepper,           175       S.W.3d            714,           719        (Mo.         App .       S.D.         2005) .          Events



arise       out   of       the    same         series             of       transactions                 or      occurrences              when


they    have        either           a    common             scheme             or     design,             or      if    all       acts    or


conduct        are         connected               with           a    common             core,          common          purpose,          or


common       event .            See       Dally,             248       S.W.3d           at       617,       holding,           in    part,


that    a    "series"            of      transactions                      or    occurrences                 in      the      context      of


Rule        52 . 05 (a)          requires                "that              the        series            of        occurrences             be


related        by      a    common            question                 of       law       or     fact,"            and     that      it    is


"readily          apparent"              that           such          criterion             is      satisfied when                   (among


other       situations)               there             is    a       "common          factual             question           as    to    the


                                                                       20
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origin"      of     plaintiffs'            injuries;            see     also    State     ex       rel.    Allen v.


Barker,      581       S.W.2d      818,    826-827           (Mo.       banc    1979).


       Here          the     65    Plaintiffs'             claims         clearly       do     present       common


questions         of    both       law   and     fact      as     to,     inter       alia,    the    origins       of


Plaintiffs'            ovarian       cancer          injuries,           and    arise        out    of     the    same


"series"       of      transactions             or    occurrences             within     the       broad meaning


of    Rule    52.05.          Plaintiffs             allege       that     they       each    were    damaged       by


the    same       wrongful          conduct           of   mining,            manufacturing,              studying,


testing,       distributing,               marketing,             and     selling,       etc.,       the     talcum-


based     products            in    question.                For        each    individual           Plaintiff's


claim    herein,           many of        the    core      issues         are    common       and    essentially


the    same :           the       same     talc       miner        and     manufacturer;              same       basic


injuries;           same     defect;       same       alleged           duty    owed    to    each        Plaintiff;


same    causes          of    action       alleged;          same        alleged       failure        to    warn    in


spite     of    alleged           knowledge           that      the      Products       were       carcinogenic;


and    during          the    course       of     litigation             it     is    likely       that     much    or


even most of            the       evidence will            deal with            liability and causation


issues       that       are       common    and        shared           among    all     of    the        Plaintiffs


relative        to     the    dangers       inherent              in perineal use             of    the     two   talc


products        at     issue;       etc.


        In     seeking        to    (in    essence)           sail       against       the    wind by arguing


that    joinder          here      is     improper,          both        sets    of    Defendants           (Johnson


& Johnson,             and    Imerys)       rely       quite           heavily on two prior opinions

                                   Court          Brown           v.     Walgreens           Co.      supra        and
of     this         Circuit


Ballard        v.      Wyeth,      supra.            And   indeed,         it    is    true    that        for    sound


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reasons       which         were        well-articulated               in     those      two        opinions,           this

                                                                                                                               I

Court       has        been- -and             remains- -skeptical                  of      product           liability         j




cases    by      multiple             plaintiffs          when       such     cases      are    brought           against
                                                                                                                               i




a   great        many,          multifarious             defendants.            Id.        But       in    seeking        to


make    that       argument             in    the    case    at      bar,     Defendants             are     in    effect


comparing         apples           to    oranges .         In     Ballard       v.      Wyeth,       Circuit        Court


No.     042-07388A,                   there       were     34        different          defendants            and        "no


single           Plaintiff              had        claims         against          all         34     defendants."


Similarly             in   Brown        v.       Walgreens,          Cause     No.       1022 -CC00765 ,            there


were    38       defendants,                 and    none     of       the     plaintiffs             had     the        same


relationship               to     all       of     the    defendants.              In    this        Court's        view,


there       is    a    very       significant             distinction           between         cases        with       many


multiple,          unrelated             Defendants,            such     as    Ballard         and    Brown,        and    a


case    such          as   this        one,       where     (in      essence)        the    only      two     existing


defendants             are        the       raw     talc    miner/supplier                 and       the     products'


manufacturer/ distributor .


        The       Court           finds       Plaintiffs          here      are      properly         joined        under


Rule    52.05(a) ,              and their claims                should not be            severed.


                                      IV.     Motions       to Transfer Venue


        Johnson             &     Johnson         moves     as       well     to     transfer         venue        of    the


sixty- three               (63)       non-Missouri          Plaintiffs             to    Cole       County,        and    to


transfer venue                   of    one    of    the Missouri            Plaintiffs              (Ms.    Westerman)


to    St.    Louis         County.            In    its    own       separate motion                for    transfer of


venue,       Defendant                Imerys       expressly          "joins       in    and        incorporates          by


reference"             the        same       "arguments,             citations,          and     legal       authority


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raised       by       Defendants             Johnson            &     Johnson           in      their          Motion           to


Transfer       Venue."


        Defendants               argue      the      claims         of     the    sixty-three            non-Missouri


Plaintiffs            should        be      transferred               to     Cole       County          because            (they


say)    such      a    result          is    required          by         sections       508.010. (4),               (5)    and


(14)RSMo,         in       light       of    the      twin      facts           that:     (a)      all    of    the        non-


Missouri       Plaintiffs                were     allegedly               first    exposed         to    the     products


at   issue      outside           of       Missouri         and      developed           their       cancer       outside


of   Missouri;          and        (b)      the      only      Missouri           registered            agent     for       any


of the Defendants is located in Cole County.9                                                They        further       argue


that     venue         is    proper          as      to     Ms.       Westerman           "only          in    St.     Louis


County, "       because           that       is      where      she        resides        and,       according             to    a


fair    construction               of       the      Petition's            allegations             as    to     her,        that


locale       is       also       where       she      was       first           exposed       to/injured             by      the


talc    products            at    issue.


        Venue         in    Missouri            is    determined                solely       by    statute.                State



ex rel .      Ford Motor Co.                 v.      Manners ,            161    S.W.2d       373,       375    (Mo.        banc


2005);       State          ex    rel.       Linthicum               v.     Calvin,       57       S.W.3d        855,        857


(Mo .   banc      2 0 01) .


        Section         508.010.4            RSMo      states:


                  Notwithstanding                    any       other        provision           of      law,
                  in       all     actions           in    which           there    is       any     count
                  alleging             a    tort      and       in        which    the       plaintiff
                  was       first          injured        in    the        state     of      Missouri,
                  venue           shall         be        in    the         county        where          the



9 Plaintiffs allege that Imerys is the only Defendant to maintain a registered agent in Missouri. Defendant Imerys'
registered agent is located Jefferson City, Missouri (which is in Cole County)--where in fact Imerys was served with
process in this matter. The case file indicates that the Johnson & Johnson defendants, by way of contrast, were
served in their home state of New Jersey.

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                plaintiff              was        first          injured          by    the    wrongful
                acts        or     negligent                  conduct             alleged          in        the

                action.


      Section          508.010.5             RSMo       states          in pertinent               part:


                Notwithstanding                       any     other          provision             of    law,
                in     all        actions             in    which        there          is    any       count
                alleging           a        tort       and       in     which          the    plaintiff
                was         first            injured             outside           the        state           of

                Missouri,                   venue           shall        be        determined                 as
                follows :


                 (1)    If     the          defendant             is    a    corporation,                then

                venue          shall              be        in     any        county           where           a
                defendant              corporation's                    registered             agent          is
                located            or,           if        the     plaintiff's                principal
                place         of        residence                 was        in        the     state          of
                Missouri           on        the       date      the     plaintiff            was       first

                injured,           then           venue          may    be    in       the    county          of
                the     plaintiff's                    principal            place       of     residence
                on          the        date            the        plaintiff                  was        first
                injured [ . ]


        Additionally              section              508.010.9            provides          that       in    all       actions


venue    shall         be    determined                when       the       plaintiff          was       first          injured;


and section            508.010.14                provides         that       a plaintiff                is    deemed first


injured       "where        the        trauma          or    exposure         occurred             rather          than where


symptoms        are    first manifested."


        The     Missouri           legislature                   has     mandated             that       singular          terms


in   its      statutes            should          be        construed             as    including             their       plural


forms      "unless           there           be        something             in        the    subject              or    context


repugnant        to     such       construction."                       State          ex    rel.       BJC    Health        Sys .


                  121       S . W . 3d       528,       530       (Mo.       banc       2003).           Sec.           508.010.4
V.   Neill ,


should      therefore             be    construed accordingly,                               and be      read as           "venue


shall      be    in     the       county           where          the       plaintiff          was       [or       plaintiffs


were]      first       injured          .    .


                                                                  24
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        Thus,      as     Defendants             in    their          briefing          seem        at     times         to


tacitly      acknowledge             but     do       not    quite         expressly           concede,            their


whole    argument         as    to      venue     appears          to      be    heavily          dependent         upon


the    premise         that     the      Plaintiffs                individual             claims          have      been


improperly         joined      and must          be    severed.


        However          for    the      reasons           previously            set    forth           herein,          the


Court    has     determined           that      Plaintiffs'             claims         have,       in    fact,          been


properly joined.


        Consequently,            in      this     case       venue         is    proper        in       the   City        of


St.    Louis      as    to     the    entire       cause         of     action         and    all       Plaintiffs'


claims,      because         joinder        of    the       claims          is     proper,         and     Plaintiff


Tiffany Hogans            clearly has             alleged        that        she    was      first        exposed         to


and     first      injured         by    the      talc-based               products          at     issue      in        the


City of      St.    Louis.


            V.   Motions        to Dismiss Based on Forum Non Conveniens


        Both       Defendant            Imerys        as    well        as       the    Johnson           &    Johnson


Defendants         urge      the     Court       to    find      that        the    claims         of    all       of    the


Plaintiffs         who    are      not     Missouri         residents            should be              dismissed on


             of    forum non            conveniens.              Defendants            maintain           that      "all"
grounds


of    the   recognized factors                   of public            and private            convenience                that


courts       customarily             consider          when        assessing            such        a    motion,          in


this     case      "weigh       heavily"          in       favor      of     dismissal            based       on    forum


non     conveniens.


        Under       the      doctrine        of       forum      non       conveniens,             a     trial      court


has broad discretion to refuse                              to exercise             jurisdiction,              even if


                                                            25
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there          is     proper             jurisdiction                 and       venue,               if       the        forum       is


seriously             inconvenient                  for      the      trial      of        the        action,            and    if     a


more      appropriate               forum           is    available             to    the       petitioner.                    Anglim


v .    Mo .    P .   R .    Co .        832     S . W . 2d    298,        302    (Mo.          banc       1992);         Moyers      v.


Moyers ,        284        S.W.3d        182,       187      (Mo.     App.      E.D.       2009).


          "The        trial         court           should           weigh           six       important,                but     non


exclusive,             factors            in       making        its       decision:             1)       the       place       where


the      cause        of     action           accrued;           2)       the    location                of     witnesses;            3)


the     parties'            residence;              4)     any      nexus       with           the    place         of    suit;       5)


the     public         factor           of    the    convenience                to    and       burden          on   the       court;


and      6)    the         availability              of    another           court         with          jurisdiction               that


                 a    forum        for        the    plaintiff."                Moyers ,             284      S.W.3d       at       187.
affords


 "Any         additional            factors              considered            and        the        weight         assigned          to


                                    the       circumstances                of    the       particular                case."          Id.
each depend upon


 "In     addition            to         the     foregoing             factors,             the        trial         court       shall


consider             whether        proceeding in Missouri                            would          cause          injustice         by


oppressing             the     defendant             or      place        an    undue          burden          on    the    court."


 Id.


          A plaintiff               has        a    right       to    choose          any       forum where                there      is


proper          jurisdiction                  and    venue          in    which           to    file          the    plaintiff's


 cause        of     action.             State       ex      rel .     Wyeth         v.    Grady,             262    S.W.3d         216,


                     (Mo.     banc            2008) .           In        considering                a     defendant's               FNC
 219-220


 argument             the     Court           must       keep       in mind          that       a plaintiff's                  choice


 of     forum        should         not        be    disturbed             except          for        "weighty           reasons,"


 and      then        only         if    the        balance          weighs          strongly              in    favor         of    the


                                                                     26
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defendant .             Anglim,          832       S.W.2d           at       302.         Thus ,       the    Court          should


honor     a    Plaintiff's               choice             of    forum        if     reasonable             persons             could


differ        with      a    decision             to    dismiss.               Barrett           v.    Missouri             Pacific


R. R.    Co.,        688         S.W.2d       397,          399     (Mo.       App .       E.D.        1985).           Further,


the     Missouri             Supreme          Court           has        expressly           rejected             the        notion


that     a    plaintiff            must           bear       the    burden           of     justifying             his       choice


of    forum        in    cases         where           the       litigation            is    between          out-of-state


residents            over        causes           of    action           that        arose        out-of-state.                    See



Anglim,        832       S.W.2d          at       303-305.               Indeed,          under        our    state's             very


Constitution,                non-residents                   have        a    recognized              right       to    litigate


their        claims         here         and        Missouri             courts           "have        a     clear          duty    to


provide        a     forum         and        a    fair          trial         [to    such        litigants]                in    con-


formity        with         established                 principles"              of       law.         Adkins          v.    Hontz,


        S . W . 3d      672,       678    (Mo.          App.       W.D.        2009).            Thus ,      the       forum       non
280


conveniens              doctrine          should              "be    applied              with        caution           and       only


upon      a     clear            showing           of       inconvenience                 and         when    the           ends    of


justice        require            it."        Id.,       at      676.


         Weighing            the       overall          balance              here,     the      Court        concludes             that


this         Court          is     not        seriously             inconvenient                   for       trial           of     the


action;            there          is     no        more          significantly                   convenient                 or     more


appropriate              forum         because              the     claims           are     properly             joined;           and


Defendants              have       not    made          a    convincing               showing          that       it    would        in


any     real -world               sense       be       more       convenient              for      them      to    try       all     of


 the    Plaintiffs'                individual               claims           in their respective                       individual


 home     states.                The   Court           acknowledges              that        at       least    to      a     limited


                                                                    27
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                  likely    would      be       somewhat             more       convenient         for    Johnson          &
degree     it


             to    try    the    case       in        its       home       state      of    New    Jersey       (which
Johnson


     their      fallback        "alternative                fora"      suggestion) ;              but    that    alone
is


does    not       show    that        this       forum           is    impermissibly               inconvenient.


                while     the    six       factors              may    not       present      a     totally          one
Finally,


           picture,      the     Court          finds       that       on       balance      and    overall          they
sided


     not    "weigh       heavily"       in       favor          of    dismissal;            the    Court       further
do


           no   significant           or        undue       burden          on       this   Court        to    try    the
finds


matter      here.


        Accordingly,            the    court          declines             to    exercise         its     discretion


to dismiss Plaintiffs'                 claims on forum non conveniens grounds.

                                                VI.    Conclusion


        WHEREFORE,         for    all      of     the           foregoing            reasons,      it     is   Ordered


                                                            &    Johnson         Defendants'             as    well    as
and    Decreed       that       the    Johnson


Defendant          Imerys'       respective                 motions             to    dismiss       for        lack    of


personal        jurisdiction,           their respective motions                             to dismiss based


on doctrine of             forum non conveniens,                           their respective motions to

                                                       motions             to    transfer         venue        are    all
sever        and    their       respective


hereby DENIED .



                                                                      SO   ORDERED:




                                                                      John      F/ Gjfrvey,        Judge



 Dated:                                     ,    2015




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